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                         UNITED STATES DISTRICT COURT                            ZU2OFEB   It+   MUI:OI
                          WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION

COMMISSION FOR LAWYER DISCIPLINE, §
         Plaintiff,               §
                                                    §
V.                                                  §   CASE # A:20-CV-0153-RP
                                                    §
BRAND! K STOKES,                                    §
              Defendant.                            §

                                     OFFER OF PROOF

        Now comes the Defendant, Branch K Stokes, and provides the attached Offer of Proof

concerning her need to give classified testimony. Now that the Department of Justice is openly

admitting that the Chinese military is involved with malicious hacking activities designed to

ascertain sensitive information on Americans, the Defendant believes that it is appropriate to

produce this information at this time. Defendant additionally can provide testimony

suggesting or indicating that the network of Chinese and enmeshed Americans that

participate in the   'Great Mission of Tao" operate in secret and are, at a minimum, in

communication with members of the Chinese military. The Defendant can further testify that

she has reason to believe this network has hubs in Texas, Alabama, Massachusetts, New York,

California, Mexico, and South America, at a minimum. The Defendant has in her possession the

names of some of the Texas, Massachusetts, and New York participants. Because this network

is coordinating with the Chinese military, the United States is in some regions, under occupation

for the purpose of Geneva Conventions application. Defendant has reason to believe that one of

the "Tao Masters" operating in South America is also a General in the Chinese military. While

this evidence still needs to be reviewed for classification, it is not yet classified as to the

Defendant and publicly available information now corroborates the Defendant's concern.

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       The Defendant's observations of the activities of this network lead her to believe

that organizers of the network are using religious prophecies to procure cooperation but

that missionary work is not the primary objective. Defendant has practiced Tao in an

independent manner since the early 1990s, and the Defendant does not believe that the Tao

practice promulgated by this network is genuine.

        It is relevant to note that this network approached the Defendant within six

months of her initial report to the FBI in 2012, which had been mishandled. Defendant

started pulling away from the network as soon as she noticed a problem, and Defendant

filed a request to give a classified complaint as soon as she realized that there had been an

attempt to recruit her into this group for military or reconnaissance purposes.

        Defendant still has a need to give classified testimony in order to explain the

relevancy of this information to the Defendant.

DATED:Februaryl4,2020.
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                                             Bréndi K Stokes, Defendant
                                             Texas State Bar No. 24044940
                                             brandi.stokesgmail.com+1 512 206 0202
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                                             P.O. Box 301916 AUSTiN, TX 78703
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                               CERTIFICATE OF SERVICE

       I certify that on February 14, 2020, a true and correct copy   of this Application to Proceed

in District Court Without Prepaying Fees or Costs was served on counsel for the Plaintiff

through CMRRR.



                                             Brandi
                                                           'I
                                                       Stokes



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                          Iltc (;ICi    Vli$t5i()t   tIt   lit)                                                     The   Great Mission of Tao




                                                                                             We would like to apologize to any reader who may find that
                          FORWARD                                                            some parts of this book are difficult to understand due to their
                                                                                             abbreviation. We welcome sincerely with great appreciation any
"For as the lightning cometh out          of the           east,   and shineth even unto
                                                                                             comments or suggestions from readers regarding any mistakes or
the west, so shall the coming ofthe Son ofMan be. "- Matthew 24:27
                                                                                             omissions that were made.

Under the decree of God, Tao is being propagated at lightning
                                                                                             We are very grateful to many predecessors who worked very hard
speed from the East to the West for the purpose of the final spiri-                          on this book in giving suggestions, proof reading, editing and
tual salvation. There is a great need for the knowledge of Tao in
                                                                                             graphic design.
order to let people all over the world realize that this "One Great
Event of the Holy Endeavor" is finally here and that the Great
Mission of Tao has been bestowed upon us who have received Tao
from almighty God.
                                                                                             Editors
                                                                                             Respectfully written in San Gabriel, California
With this in mind, this book, the first volume of a series, is being
                                                                                             January, 1997
published. The content of this book is based in part upon a Tao
lecture series in English which was held at the Temple Ji Li in
San Gabriel, California. Readers may find that some areas of the
book are too abbreviated or too general in nature. It is due to the
profoundness of the subjects covered. To describe each subject in
detail would have requircd great volumes of words and was not
the intention for this series of publications. 'Ihis series of booklets
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is   more intended as a general    iiit   iodtictiun to                     and a guide to
some general topics.




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